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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI

                                     )
ANGELA GATERMAN and                  )
ROBERT A. PAULI, JR.,                )        No. 17-CV-2837-JCH
                                     )
      Plaintiffs,                    )
                                     )
v.                                   )
                                     )
KAVULICH & ASSOCIATES,               )
P.C. and GARY KAVULICH,              )
                                     )
      Defendants.                    )
                                     )
                                     )
                                     )

                            CERTIFICATE OF SERVICE

      This is to certify that I have this day served: Kavulich & Associates, P.C., 181

Westchester Ave., Suite 500C, Port Chester, NY 10573, with a copy of Plaintiff’s

Motion for Extension of Deadlines, by depositing said copy in the United States mail

in a properly addressed wrapper with adequate postage, in the manner prescribed

by Rule 5 of the Federal Rules of Civil Procedure.

      I further certify that I have this day served: Gary Kavulich, c/o Kavulich &

Associates, P.C., 181 Westchester Ave., Suite 500C, Port Chester, NY 10573, with a

copy of Plaintiff’s Motion for Extension of Deadlines, by depositing said copy in the

United States mail in a properly addressed wrapper with adequate postage, in the

manner prescribed by Rule 5 of the Federal Rules of Civil Procedure.

Dated: Winston-Salem, NC                      /s/ Jonathan R. Miller
       June 19, 2018                          Jonathan R. Miller




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